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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-4709-RSWL-KS                                          Date        May 29, 2020
 Title             Anthony Bouyer v. Kadima Investments LLC, et al.




 Present: The                    RONALD S.W. LEW, Senior U.S. District Judge
 Honorable
                      Joseph Remigio                                                  None
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                           Not Present
 Proceedings:                 (IN CHAMBERS) ORDER TO SHOW CAUSE RE EXERCISE OF
                              SUPPLEMENTAL JURISDICTION RE STATE LAW CLAIMS

The Court ORDERS Plaintiff to SHOW CAUSE in writing why the Court should exercise supplemental
jurisdiction over the Unruh Act claim and all other state law claims asserted in the Complaint.


Plaintiff shall file a Response to this Order to Show Cause by no later than June 8, 2020.


Failure to timely or adequately respond to this Order to Show Cause may, without further warning,
result in the dismissal of the entire action without prejudice or the Court declining to exercise
supplemental jurisdiction over the state law claims and the dismissal of those claims pursuant to 28
U.S.C. 1367(c).




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                                                               Initials of Preparer    jre




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